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                             IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF UTAH



    GARFIELD COUNTY, a Utah political                  ORDER GRANTING MOTION FOR
    subdivision; KANE COUNTY, a Utah                   LEAVE TO FILE AMICUS CURIAE
    political subdivision; and THE STATE OF           BRIEF IN SUPPORT OF PLAINTIFFS
    UTAH, by and through its Governor,
    SPENCER J. COX, and its Attorney General,
    SEAN D. REYES;

                      Plaintiffs,                    Case No:4:22-cv-00059-DN-PK (lead case)
                                                     Case No: 4:22-cv-00060-DN-PK
    ZEBEDIAH    GEORGE           DALTON;
    BLUERIBBON   COALITION;           KYLE           District Judge David Nuffer
    KIMMERLE; and SUZETTE RANEA                      Magistrate Judge Paul Kohler
    MORRIS;
             Consolidated Plaintiffs,
         v.

    JOSEPH R. BIDEN, JR., in his official
    capacity as President of the United States, et
    al.;,

                         Defendants,

    HOPI TRIBE, NAVAJO NATION, PUEBLO
    OF ZUNE, and UTE MOUNTAIN TRIBE;
    SOUTHERN UTAH WILDERNES
    ALLIANCE;

                         Intervenor-Defendants.


           Upon review of the Unopposed Motion by the Separation of Powers Clinic for Leave to

File Amicus Brief, 1 and any responses and replies filed pertaining to it, and the file in this matter,

and finding good cause therefor, it is:

           ORDERED that the Motion is GRANTED, and it is




1
    Docket no. 156, filed April 21, 2023.
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       FURTHER ORDERED that the amicus curiae brief shall be filed with this Court within 3

business days of the date of this order.

       DATED this 24th day of April 2023.

                                                BY THE COURT:

                                                _______________________________
                                                PAUL KOHLER
                                                United States Magistrate Judge
